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                                                                      8   Attorneys for Defendant Daniel Kinahan
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                                                                     10                      UNITED STATES DISTRICT COURT
                                                                     11
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                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                     12
                      601 South Figueroa Street, Suite 1950




                                                                     13                               EASTERN DIVISION
                          Los Angeles, California 90017
LIANG LY LLP




                                                                     14   HEREDIA BOXING MANAGEMENT,                 CASE NO. 5:20-cv-02618-JWH-KK
                                                                     15   INC., a California corporation; and
                                                                          MOSES HEREDIA, an individual,              Hon. John W. Holcomb
                                                                     16

                                                                     17               Plaintiffs,                    DECLARATION OF JASON L.
                                                                                                                     LIANG IN SUPPORT OF
                                                                     18   vs.                                        DEFENDANT DANIEL
                                                                     19                                              KINAHAN’S MOTION TO SET
                                                                          MTK GLOBAL USA, LLC, a Delaware            ASIDE ENTRY OF DEFAULT
                                                                     20   limited liability company, et al.,
                                                                     21                                              Date:          April 22, 2022
                                                                                      Defendants.                    Time:                9:00 a.m.
                                                                     22                                              Ctr.:                       2
                                                                     23
                                                                                                                     Complaint Filed: December 18,
                                                                     24                                              2020
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                                                                                                    DECLARATION OF JASON L. LIANG
                                               Case 5:20-cv-02618-JWH-KK Document 73-2 Filed 03/14/22 Page 2 of 2 Page ID #:608



                                                                      1                       DECLARATION OF JASON L. LIANG
                                                                      2         I, Jason L. Liang, declare as follows:
                                                                      3         1.     I am a partner at the law firm of Liang Ly LLP, counsel of record
                                                                      4   for Defendant Daniel Kinahan. I submit this declaration in support of Mr.
                                                                      5   Kinahan’s Motion to Set Aside Entry of Default (“Motion”). I have personal
                                                                      6   knowledge of the foregoing and, if called upon as a witness, I could and would
                                                                      7   competently testify thereto.
                                                                      8         2.     On February 17, 2022, I reached out to counsel for Plaintiffs
                                                                      9   Heredia Boxing Management, Inc. and Moses Heredia (“Plaintiffs”) to set up a
                                                                     10   meet and confer about having the entry of default against Mr. Kinahan set aside.
                                                                     11   A further conference was schedule for February 22, 2022.
               213.262.8000 (Telephone) | 213.335.7776 (Facsimile)




                                                                     12         3.     On February 22, 2022, I met and conferred with Plaintiffs’ counsel
                      601 South Figueroa Street, Suite 1950




                                                                     13   regarding Mr. Kinahan’s anticipated motion to set aside default.
                          Los Angeles, California 90017
LIANG LY LLP




                                                                     14         4.     On February 25, 2022, Plaintiffs’ counsel stated that they were not
                                                                     15   willing to stipulate to setting aside the default.
                                                                     16         I declare under penalty of perjury under the laws of the United States of
                                                                     17   America that the foregoing statements are true and correct. Executed on March
                                                                     18   14, 2022, in Los Angeles, California.
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                                                                     21                                                  Jason Liang
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                                                                                                       DECLARATION OF JASON LIANG
